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   For Clerk’s Office Use

  Judge              Rec’d
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                                                                                   CLERK,'RICHMOND.
                                                                                          U.S. DlSTRICi
                                                                                                      VA
                                                                                                         COURT

                                IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE
                                   WESTERN DISTRICT OF VIRGINIA


      For use by inmates in filing a complaint under CIVIL RIGHTS ACT, 42 USC §1983
              or BIVENS v. SIX UNKNOWN NAMED AGENTS OF FED. BUREAU OF
                                   NARCOTICS, 403 U.S.C. §388 (1971)




          Plaintiff full name                                    Inmate No.



          V.                                      CIVIL ACTION NO.          3:7 V ovS'53


          Defendant(s) full name(s)




          A. Current facility and address:     fjrrce-VT                d        dT/c,in >4          1                  CY"
          /

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          B. Where did this action take place?                       dbrr<                          (.}ei'i~ft.r
                                                                f
              C. Have you begun an action in state of federal court dealing with the same facts
                 involved in this complaint?

                         Yes


                 If your answer to A is Yes, answer the following:

                     1. Court:


                     2. Case Number:

                                                                                                    '1             IJ
              D. Have you filed any grievances regarding the facts of this complaint?       : U'




                          Yes                     No                                    j                NOV I r
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               1. If your answer is Yes, indicate the result:

                H                                               in Tic-lj dtff/ rer^\A^->iy -J            fNuV        K>rg^


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               2. If your answer is No, indicate why:




      E. Statement of Claims(s): State briefly the facts in this complaint. Describe what
            actions(s) each defendant took in violation of your federal rights and include the
            relevant dates and places. Do not give an y legal arguments or cite any cases or
            statutes. If necessary, you may attach additional page(s). Please write legibly.

            Claim #1 - Supporting Facts - Briefly tell your story without citing cases or law:

                                                                        ty\ch.                                           SJC.



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            Claim #2 - Supporting Facts - Briefly tell your story without citing cases or law:

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       F.    State what relief you seek from the Court. Make no legal arguments and cite no cases
             or statutes.


                                            \oy^

                                                                                                Yes               No
       G. If this case goes to trial do you request a trial by jury?

       H. If 1 am released or transferred, I understand it is my responsibility to immediately
             notify the court in writing of any change of address after I have been released or
             transferred or my case may be dismissed.


       DATED:

                      ijnjn                               SIGNATURE:




                                                                                                                                5
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      VERIFICATION:


      I,                                     , state that I am the plaintiff in this action and I
      know the content of tl^bove complaint that it is true of my own knowledge, except as
      to those matters that are stated to be based on information and belief, and as to those
      matters, I believe them to be tme. I further state that I believe the factual assertations are
      sufficient to support a claim of violation of constitutional rights. Further, I verify that 1
      am aware of the provisions set forth in 28 U.S.C. §1915 that prohibit an inmate from
      filing a civil action or appeal, if the prisoner has, on three or more occasions, while
      incarcerated brought an action or appeal in federal court that is dismissed on the grounds
      that is was frivolous, malicious, or failed to state a claim upon which relief may be
      granted, unless the prisoner is imminent danger of serious physical injury. I understand
      that if that complaint is dismissed on any of the above grounds, I may be prohibited from
      filing any future actions without the pre-payment of the filing fees. I declare under
      penalty of perjury the foregoing to be true and correct.


      DATED:                                  SIGNATURE:




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